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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                    (Western Division)

                                                      )
In re:                                                )
                                                      )       Chapter 11
GKS CORPORATION                                       )
                                                      )       Case No. 19-30998-EDK
                               Debtor.                )
                                                      )


                   ORDER CONFIRMING JOINT LIQUIDATING PLAN

         GKS Corporation (the “Debtor”) and the Official Committee of Unsecured Creditors (the

“Committee” and, together with the Debtor, the “Plan Proponents”) having filed the Joint

Liquidating Plan of the Debtor and the Official Committee of Unsecured Creditors dated January

11, 2021 [Doc. No. 239], as modified [Doc No. 284] (the “Plan”), and the related Disclosure

Statement regarding the Plan [Doc. No. 240] (the “Disclosure Statement”); this Court, by Order

entered March 1, 2021 [Doc. No. 273] (the “Disclosure Order”), having approved the Disclosure

Statement and established deadlines and procedures governing the solicitation of acceptance of

the Plan, the filing of objections to the Plan, and the hearing to consider confirmation of the Plan;

April 7, 2021 at 4:00 p.m. having been fixed by the Disclosure Order as the deadline for (i)

submission of ballots accepting or rejecting the Plan and (ii) filing of objections to the Plan;

April 14, 2021 at 2:00 p.m. having been fixed by the Disclosure Order as the date and time of the

hearing to consider confirmation of the Plan (the “Confirmation Hearing”) pursuant to Sections

1128 and 1129 of the Bankruptcy Code and Rule 3017 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”); counsel to the Debtor having attested to service on March

3, 2021 of the Disclosure Statement (with the Plan annexed as an exhibit), the Court-approved

Notice of the Confirmation Hearing and related matters, and other Plan solicitation materials
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approved by this Court pursuant to the Disclosure Order, including an appropriate form of ballot

for creditors entitled to vote on the Plan, upon the Office of the United States Trustee, all parties

asserting claims against the Debtor’s estates, and all parties on the regular service list in this

Chapter 11 case, which list includes all parties who have filed appearances and requested notice

in this case, as evidenced by the Certificate of Service of Plan Solicitation Materials filed on

March 8, 2021 [Docket No. 277] (the “Certificate of Service”); no objections to confirmation of

the Plan having been filed by the April 7, 2021 deadline (or otherwise); the Debtor on April 8,

2021 having filed its Certificate Regarding Voting on Joint Liquidating Plan [Docket No. 282]

(the “Voting Certificate”); the Plan Proponents having filed on April 13, 2021 their

Memorandum of Law in Support of Confirmation of Joint Liquidating Plan [Docket No. 285]

(the “Confirmation Memorandum”); having considered the Plan, the Disclosure Statement, the

Certificate of Service, the Voting Certificate, the Confirmation Memorandum, and all of the

evidence proffered and adduced and the arguments of counsel made at the Confirmation

Hearing; upon consideration of the entire record of this Chapter 11 case; and after due

deliberation and good cause appearing therefor, this Court makes the following findings of fact

and conclusions of law: 1

FINDINGS OF FACT AND CONCLUSIONS OF LAW:

         A.       This Court has jurisdiction over this Chapter 11 case pursuant to 28 U.S.C. §

157(1) and 28 U.S.C. § 1334(a). Venue of these proceedings in this district is proper pursuant

to 28 U.S.C. § 1408 and 28 U.S.C. § 1409.



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   This Order constitutes this Court’s findings of fact and conclusions of law under Fed. R. Civ. P. 52, as made
applicable by Bankruptcy Rule 7052 and Bankruptcy Rule 9014. Any finding of fact shall constitute a finding of
fact even if it is stated as a conclusion of law and any conclusion of law shall constitute a conclusion of law even if
it is stated as finding of fact when necessary and appropriate. Capitalized terms used and not defined herein shall
have the meanings ascribed to them in the Plan and the Disclosure Statement.




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       B.      Due, sufficient and adequate notice of the Plan and the Confirmation Hearing,

together with the deadlines for voting on, and filing objections to, the Plan, has been given to all

known holders of Claims in accordance with the procedures established by the Disclosure Order,

and no other or further notice is required. Holders of Claims entitled to vote on the Plan were

provided sufficient time to cast their ballots to accept or reject the Plan.

       C.      The solicitation of votes on the acceptance or the rejection of the Plan was

conducted in good faith and complied with Sections 1125 and 1126 of the Bankruptcy Code,

Bankruptcy Rules 3017 and 3018, the procedures established by the Disclosure Order, all other

applicable provisions of the Bankruptcy Code, and all other applicable laws, rules and

regulations.

       D.      The procedures by which the ballots were distributed to holders of Claims and

completed ballots were tabulated were fair, properly conducted and in accordance with the

Bankruptcy Code, the Bankruptcy Rules, the Disclosure Order, the local rules of this Court, and

all other applicable laws, rules and regulations.

       E.      As is evidenced by the Voting Certificate, at least two-thirds in amount and more

than one-half in number of the holders of Allowed Claims in Class Five who timely and properly

submitted ballots accepted the Plan. Accordingly, Class Five has accepted the Plan.

       F.      Classes One through Four are not impaired under the Plan and, therefore, are

deemed to have accepted the Plan pursuant to Section 1126(f) of the Bankruptcy Code.

       G.      Class Six (subordinated Claims) is receiving nothing under the Plan and

accordingly is deemed not to have accepted the Plan pursuant to Section 1126(g) of the

Bankruptcy Code. Because there is no class junior to Class Six that is receiving or retaining any

property pursuant to the Plan, the Plan is fair and equitable and satisfies the requirements of




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Section 1129(b)(2)(B) as to Class Six.

        H.     Class Seven (Interests) is receiving nothing under the Plan and accordingly is

deemed not to have accepted the Plan pursuant to Section 1126(g) of the Bankruptcy Code.

Because there is no class junior to Class Seven that is receiving or retaining any property

pursuant to the Plan, the Plan is fair and equitable and satisfies the requirements of Section

1129(b)(2)(C) as to Class Seven.

        I.     The treatment under the Plan of Claims entitled to priority under Section 507(a)

of the Bankruptcy Code complies with the provisions of Section 1129(a)(9) of the Bankruptcy

Code.

        J.     The rejection of executory contracts and unexpired leases in accordance with the

provisions of Section 7 of the Plan satisfies the requirements of the applicable provisions of the

Bankruptcy Code, including without limitation Section 365 of the Bankruptcy Code, and is

authorized pursuant to Section 1123(b)(2) of the Bankruptcy Code as a reasonable exercise of the

Debtor’s sound business judgment in the best interest of the Estate.

        K.     The provisions of Section 6 of the Plan governing determination of Allowed

Claims, including with regard to subordinated, late-filed or late-amended, and contingent or

unliquidated claims: (a) are an essential means of implementing the Plan pursuant to Section

1123(a)(5) of the Bankruptcy Code; (b) are important to the overall objectives of the Plan to

promptly and finally resolve all Claims against the Estate and to provide for prompt and

equitable distribution of liquidation proceeds to creditors under the Plan; (c) are intended to

avoid prejudice to the estate and creditors resulting from late-filed or amended Claims or Claims

whose resolution would otherwise unduly delay administration of the Estate; and (d) are

consistent with Sections 105, 1123, 1129 and other applicable provisions of the Bankruptcy




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Code under the particular circumstances of this Chapter 11 case.

       L.      The Plan complies with all the applicable provisions of the Bankruptcy Code and

has been proposed in good faith and not by any means forbidden by law.

       M.      The Plan Proponents, as proponents of the Plan, have complied with all the

applicable provisions of the Bankruptcy Code, the Bankruptcy Rules, the local rules of this

Court, and the Disclosure Order.

       N.      Any payments to be made under the Plan for services or for costs and expenses in

or in connection with this Chapter 11 case, or in connection with the Plan and incident to the

Chapter 11 case, have been disclosed to this Court, and (i) to the extent such payments relate to

pre-Effective Date services or expenses, such payments have been approved by or are subject to

the approval of this Court as reasonable, and (ii) to the extent such payments relate to post-

Effective Date services or expenses, the provisions of the Plan governing such payments are

reasonable.

       O.      The Plan Proponents have disclosed the identity and affiliations of the individual

proposed to serve as the Plan Administrator under the Plan, and of the individuals designated to

serve as members of the Plan Committee under the Plan, and the appointment of such individuals

to serve is such roles is consistent with the interests of creditors and with public policy.

       P.      No governmental regulatory approval is required to implement the Plan.

       Q.      With respect to each impaired class of Claims, each holder of a Claim of such

class either has accepted the Plan, or will receive or retain under the Plan property of a value, as

of the Effective Date, that is not less than the amount that such holder would receive or retain if

the Debtor were liquidated under Chapter 7 of the Bankruptcy Code on such date. .

       R.      Reliable and credible evidence was adduced or proffered at the Confirmation




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Hearing that the Plan is feasible. Among other things, the Plan is a liquidating plan, the

Debtor’s estates have already been substantially liquidated, and the evidence showed that the

Plan Administrator can make, or cause to be made, the distributions required under the Plan and

otherwise perform the payment obligations under the Plan. Consequently, confirmation of the

Plan is not likely to be followed by the need for further financial restructuring of the Debtor

other than as proposed in the Plan.

       S.      The principal purpose of the Plan is not the avoidance of taxes or the avoidance of

the application of Section 5 of the Securities Act of 1933 (15 U.S.C. § 77e), and no

governmental unit has requested that this Court not confirm the Plan for this reason. The Debtor

is not an individual and is not required to make domestic support obligations, and the Plan,

therefore, need not provide for the payment thereof.

       T       All fees payable under Section 1930 of Title 28 of the United States Code as of

the Effective Date have been paid or will be paid pursuant to the terms of the Plan on or before

the Effective Date. The Plan also provides for payment of all such fees payable after the

Effective Date.

       U.      There are no retiree benefits, as defined in Section 1114 of the Bankruptcy Code,

       to be provided for in the Plan.

       V.      The exculpation of the Debtor, each member of the Committee, the Plan

Administrator, each member of the Plan Committee, and their representatives to the extent

provided for by Section 8.4 of the Plan is appropriate under the circumstances of this Chapter 11

case, and is consistent with Section 1125(e) of the Bankruptcy Code and with public policy.

       W.      This Court may properly retain jurisdiction over the matters set forth in Section

8.11 of the Plan.




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       X.      This Court’s findings and conclusions set forth herein, and any additional or

subsidiary findings and conclusions made by this Court on the record at the Confirmation

Hearing, are incorporated herein by reference.

       Based upon the foregoing findings of fact and conclusions of law, and good and

sufficient cause appearing therefor,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

       1.      Notice of the Confirmation Hearing and of the opportunity to object to

confirmation of the Plan has complied with the terms of the Disclosure Order, the applicable

provisions of the Bankruptcy Code, the Bankruptcy Rules, and the local rules of this Court, and

the requirements for due process of law under the United States Constitution.

       2.      The Plan is confirmed. Except to the extent provided for by this Order, any and

all objections to the Plan are overruled.

       3.      On the Effective Date, the terms of the Plan and this Order shall be binding upon

the Debtor, all holders of Claims, the Plan Administrator, the Plan Committee, and all other

parties in interest in this Chapter 11 case, whether or not the Claim of such creditor is impaired

under the Plan or addressed by the Plan and whether or not such creditor or other party in interest

has filed, or is deemed to have filed, a proof of Claim, or has accepted or rejected or is deemed to

have accepted or rejected the Plan. The provisions of the Plan and this Order, including the

findings of fact and conclusions of law set forth herein, are non-severable and mutually

dependent. The failure specifically to include or refer to any particular provision of the Plan in

this Order shall not diminish or impair the effectiveness of such provision, it being the intent of

the Court and the effect of this Order that the Plan be confirmed in its entirety.

       4.      The appointment of SilverBloom Consulting, LLC, acting by and through its




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President, Jamie Spencer, as the Plan Administrator is hereby authorized and approved, provided

that the prospective Plan Administrator shall prior to the Effective Date obtain an appropriate

surety bond with $13 million coverage and maintain such bond until the earlier of (i) entry of an

order closing this Chapter 11 case, (ii) entry of an order of this Court authorizing the termination

or modification of such surety bond, and (iii) the Plan Administrator’s receipt of written

authorization of the Plan Committee to terminate or modify such surety bond. The appointment

of the members of the Committee as the members of the Plan Committee is hereby authorized

and approved. The Plan Committee’s retention of Weiner Law Firm, P.C. as counsel to the Plan

Committee is hereby authorized and approved. To the full extent necessary or appropriate to

perform their respective duties under the Plan, each of the Plan Administrator and the Plan

Committee shall be deemed the representative of the Estate pursuant to Section 1123(b)(2)(B) of

the Bankruptcy Code and vested with standing to pursue any and all actions necessary or

appropriate to the performance of its duties under the Plan.

       5.      In accordance with in Section 7 of the Plan, the rejection of all executory

contracts and unexpired leases of the Debtor that were not previously assumed and assigned

pursuant by prior Order is hereby approved in all respects pursuant to Sections 365 and

1123(b)(2) of the Bankruptcy Code.

       6.      Entry of this Order shall be deemed entry of an order approving all settlements

embodied in or underlying the Plan, pursuant to Sections 363, 1123 and 1129 of the Bankruptcy

Code and Bankruptcy Rule 9019.

       7.      The exculpation provisions of the Plan, under Section 8.4 of the Plan are hereby

approved.

       8.      Pursuant to Section 1142(b) of the Bankruptcy Code and any applicable state law,




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each of the Plan Administrator and the Plan Committee is authorized to execute and deliver all

agreements, instruments and documents and to take any and all other lawful actions necessary to

consummate and to implement the Plan, all without further application to or action by this Court,

except to the extent otherwise provided in the Plan.

       9.      Section 1146(a) of the Bankruptcy Code applies to any transfer or deemed

transfer of any assets made pursuant to the Plan and occurring or deemed to occur on or after the

date of entry of this Order, and all filing or recording officers, wherever located and by

whomever appointed, are hereby directed to accept for filing or recording, and to file or record

immediately upon presentation thereof by the Plan Administrator or the Plan Committee, any

instrument of transfer without payment of any stamp tax, or similar tax imposed by federal, state,

or local law. A copy of this Order shall be a recordable instrument notwithstanding any

contrary provision of non-bankruptcy law. This Court specifically retains jurisdiction to enforce

the foregoing direction, by contempt or otherwise.

       10.     In accordance with Section 2.2 of the Plan, except as may otherwise be agreed by

the Office of the United States Trustee, the Plan Administrator will be responsible for timely

payment of fees incurred pursuant to 28 U.S.C. § 1930(a)(6) until this Chapter 11 case is closed.

       11.     Pursuant to Section 1125(e) of the Bankruptcy Code, the Plan Proponents and

their professionals are not liable for any violation of applicable law, rule or regulation governing

the solicitation of acceptances of a plan reorganization on account of their solicitation of

acceptances of the Plan, such matters having been undertaken in good faith and in compliance

with the Bankruptcy Code.

       12.     Pursuant to Bankruptcy Rules 2002(f)(7) and 3020(c), the Plan Proponents shall

within three (3) business days after entry of this Order serve upon all of the Debtor’s known




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creditors and other parties in interest, including all parties listed on the regular service list in this

Chapter 11 case, notice of the entry of this Order, of the expected occurrence of the Effective

Date, and of the deadline to file certain claims, substantially in the form attached as Exhibit A.

Mailing of such notice in the time and manner set forth in this paragraph is adequate and satisfies

the requirements of Bankruptcy Rules 2002(f)(7) and 3020(c), and no further notice is necessary.

        13.     Notwithstanding Section 8.6 of the Plan, in the unexpected event that there are

surplus funds available to the Estate after payment in full of all Allowed Claims, the Plan

Administrator and the Plan Committee shall not distribute such surplus funds to the Debtor but

shall instead cause such funds to be deposited with this Court.

        14.     From and after the date of entry of this Order until entry of the final decree

closing this Chapter 11 case pursuant to Section 350 of the Bankruptcy Code, the Plan

Administrator and the Plan Committee shall jointly be responsible for (i) complying with MLBR

3022-1 in accordance with Section 5.9 of the Plan, and (ii) filing monthly post-confirmation

reports with the Office of the United States Trustee (the “UST”) in the standard form of the

“Monthly Post-Confirmation Summary Report” located at the UST’s website at

http://www.justice.gov/ust/r01/reg_info.htm.

        15.     Except as otherwise provided in the Plan, this Order shall supersede any prior

orders to the extent that such orders are inconsistent with this Order.

        16.     The provisions of the Plan and of this Order shall be construed in a manner

consistent with each other so as to effect the purposes of each; provided, however, that if there is

determined to be any inconsistency between any Plan provision and any provision of this Order

that cannot be so reconciled, then, solely to the extent of such inconsistency, the provisions of

this Order shall govern and any such provision of this Order shall be deemed a modification of




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the Plan and shall control and take precedence.

       17.      This Court shall retain jurisdiction over this Chapter 11 case in accordance with

the provisions of Section 8.11 of the Plan, Section 1142 of the Bankruptcy Code, and Bankruptcy

Rule 3020(d).



Dated: 4/23/2021                                       ______________________________
                                                       Honorable Elizabeth D. Katz
                                                       United States Bankruptcy Judge




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                Exhibit A to Order Confirming Joint Liquidating Plan

     [Form of Notice of Entry of Plan Confirmation Order and Related Matters]
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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS
                                   (Western Division)

                                                    )
In re:                                              )
                                                    )       Chapter 11
GKS CORPORATION                                     )
                                                    )       Case No. 19-30998-EDK
                              Debtor.               )
                                                    )


     NOTICE OF ENTRY OF ORDER CONFIRMING JOINT LIQUIDATING PLAN

To creditors of GKS Corporation (the “Debtor”) and to other parties in interest:

        PLEASE TAKE NOTICE that by order dated April ___, 2021, the United States
Bankruptcy Court for the District of Massachusetts (the “Bankruptcy Court”) confirmed the Joint
Liquidating Plan of the Debtor and the Official Committee of Unsecured Creditors dated January
11, 2021 [Doc. No. 239], as modified [Doc No. 284] (the “Plan”), which Plan was jointly
proposed by the Debtor and the Official Committee of Unsecured Creditors (the “Committee”
and, together with the Debtor, the “Plan Proponents”). The effective date of the Plan (the
“Effective Date”) is expected to occur on May ___, 2021.

        On the Effective Date, creditors holding allowed claims against the Debtor’s bankruptcy
estate will be entitled to receive the treatment of their allowed claims in accordance with the
provisions of the Plan. The Plan provides for full payment of allowed secured claims,
administrative claims, and priority tax claims, and provides for holders of allowed general
unsecured claims to share in distributions to be made under the Plan.

        Any entity asserting a right to payment of an administrative claim pursuant to Sections
503 and 507 of the Bankruptcy Code (other than a claim for compensation of a professional
employed in this Chapter 11 case) arising before the Effective Date and still outstanding and
unpaid by the Effective Date must, in order to preserve its right to payment of any such claim
that may be allowed by the Bankruptcy Court, file a request for payment of such administrative
claim by no later than the 30th day after the Effective Date (the “Administrative Claims Bar
Date”) with the Office of the Clerk, United States Bankruptcy Court, United States Courthouse,
300 State Street, Springfield, MA 01105, with a copy served so as to be received by the
Administrative Claims Bar Date by undersigned counsel to the Plan Proponents and by such
other entities as required by the Federal Rules of Bankruptcy Procedure. (As noted, the Plan
Proponents currently expect that the Effective Date will occur on May ___, 2021, in which
case the Administrative Claims Bar Date will be June ___, 2021.)
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        Any application (a “Fee Application”) of a professional employed in the Debtor’s
Chapter 11 case for compensation under Section 330 of the Bankruptcy Code for services
through the Effective Date must be filed with the Clerk of the Bankruptcy Court at the address
set forth in the foregoing paragraph, and a copy served upon undersigned counsel to the Plan
Proponents, by no later than the Administrative Claims Bar Date.


Dated: April ___, 2021

 GKS CORPORATION,                                  OFFICIAL COMMITTEE OF UNSECURED
                                                   CREDITORS

 By its attorneys,                                 By its attorneys,


 /s/ A. Davis Whitesell                            /s/ Gary M. Weiner
 Michael J. Goldberg (BBO #551869)                 Gary M. Weiner (BBO #548341)
 A. Davis Whitesell (BBO #551462)                  Weiner Law Firm, P.C.
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 303 Congress Street                               Springfield, MA 01103
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 Email: whitesell@casneredwards.com




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